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                                                    Filed and Attested by the
                                                   Office of Judicial Records
                                                      05 OCT 2016 01:38 pm
                                                            C. FORTE




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                                         A $5 Convenience fee will be added to the transaction at checkout.
 Case Description

  Case ID:          161000560
  Case Caption:     LANGER ETAL VS CAPITAL ONE AUTO FINANCE, A DIVISIO
  Filing Date:      Wednesday, October 05th, 2016
  Court:            CLASS ACTION
  Location:         City Hall
  Jury:             JURY
  Case Type:        CLASS ACTION
  Status:           ACTIVE CASE

 Related Cases

 No related cases were found.

 Case Event Schedule

 No case events were found.

 Case motions

                                                    Control
             Motion               Assign/Date                    Date/Received             Judge
                                                      No
  MOTION FOR CLASS               24-OCT-2016 16102729 24-OCT-2016                    WRIGHT
  CERTIFICATION                                                                      PADILLA, NINA


 Case Parties

                                         Expn
       Seq #                 Assoc                          Type                      Name
                                         Date
            1                                       ATTORNEY      SHENKAN, RICHARD
                                                    FOR PLAINTIFF
  Address: 6550 LAKESHORE              Aliases: none
           ST.
           WEST
           BLOOMFIELD MI
           48323
           (248)562-1320




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                           11/21/2016
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            2                                       TEAM LEADER           WRIGHT PADILLA,
                                                                          NINA
  Address: 505 CITY HALL               Aliases: none
           PHILADELPHIA PA
           19107
           (215)686-2892


            3                      1                PLAINTIFF             LANGER, RANDY
  Address: 2550 BELAIRE                Aliases: none
           DRIVE
           CUMMING GA
           15132


            4                      1                PLAINTIFF             LANGER, JAMES
  Address: 606 SUMMIT                  Aliases: none
           STREET
           MCKEESPORT PA
           15132


            5                                       DEFENDANT             CAPITAL ONE AUTO
                                                                          FINANCE, A DIVISION
                                                                          OF CAPITAL ONE, N.A.
  Address: 7933 PRESTON                Aliases: none
           ROAD
           PLANO TX 75024


 Docket Entries

      Filing                                                         Disposition    Approval/
                          Docket Type             Filing Party
    Date/Time                                                           Amount      Entry Date
  05-OCT-2016 ACTIVE CASE                                                          05-OCT-2016
  01:38 PM                                                                         02:26 PM
         Docket
                 E-Filing Number: 1610008815
          Entry:


  05-OCT-2016 COMMENCEMENT                       SHENKAN,                          05-OCT-2016
  01:38 PM    CIVIL ACTION JURY                  RICHARD                           02:26 PM
   Documents:



https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                   11/21/2016
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                   documents
                   Final Cover

         Docket
                 none.
          Entry:


  05-OCT-2016 COMPLAINT FILED                      SHENKAN,               05-OCT-2016
  01:38 PM    NOTICE GIVEN                         RICHARD                02:26 PM
   Documents:        Click link(s) to preview/purchase the
                   documents
                   2016_10_05_13_25_22.pdf

         Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
          Entry: AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


  05-OCT-2016 SHERIFF'S                            SHENKAN,               05-OCT-2016
  01:38 PM    SURCHARGE 1 DEFT                     RICHARD                02:26 PM
         Docket
                 none.
          Entry:


  05-OCT-2016 JURY TRIAL                           SHENKAN,               05-OCT-2016
  01:38 PM    PERFECTED                            RICHARD                02:26 PM
         Docket
                 8 JURORS REQUESTED.
          Entry:


  21-OCT-2016 MOTION FOR CLASS                     SHENKAN,               24-OCT-2016
  04:15 PM    CERTIFICATION                        RICHARD                09:47 AM
   Documents:        Click link(s) to preview/purchase the
                   documents
                   2016_10_21_10_50_45.pdf
                   2016_10_19_12_12_00.pdf
                   20161021160251.pdf
                   Motion CoverSheet Form

         Docket 29-16102729 MOTION FOR CLASS CERTIFICATION (FILED ON
          Entry: BEHALF OF JAMES LANGER AND RANDY LANGER)


  24-OCT-2016 MOTION ASSIGNED                                             24-OCT-2016
  01:18 PM                                                                01:18 PM
         Docket 29-16102729 MOTION FOR CLASS CERTIFICATION ASSIGNED TO
          Entry: JUDGE: WRIGHT PADILLA, NINA . ON DATE: OCTOBER 24, 2016




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STRADLEY RONON STEVENS & YOUNG, LLP
By:    Christine M. Debevec (Pa. Id. No. 88107)
       Samantha B. Kats      (Pa. Id. No. 316178)
2005 Market Street, Suite 2600
Philadelphia, PA 19103-7098
                                                           Attorneys for Defendant,
Phone: (215) 564-8000                                      Capital One Auto Finance
Fax: (215) 564-8120

                                                     :
RANDY LANGER and JAMES LANGER,
                                                     :   COURT OF COMMON PLEAS
                                                     :   PHILADELPHIA COUNTY
              Plaintiffs,
                                                     :
                                                     :
         v.
                                                     :
                                                     :   No. 161000560
CAPITAL ONE AUTO FINANCE, a division of
                                                     :
CAPITAL ONE, N.A.,
                                                     :
                                                     :
              Defendant.
                                                     :

                     NOTICE OF FILING OF NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that on November 21, 2016, Defendant, Capital One Auto

Finance, a division of Capital One, N.A., filed a Notice of Removal of this action to the United

States District Court for the Eastern District of Pennsylvania. A true and correct copy of the

Notice of Removal is attached hereto as Exhibit “A.”

       PLEASE TAKE FURTHER NOTICE that the filing of the Notice of Removal in the

United States District Court for the Eastern District of Pennsylvania and the filing of this Notice

effect the removal of this action, and pursuant to 28 U.S.C. § 1446(d), the above-captioned

action may proceed no further unless and until the case is remanded.



                                                    /s/ Samantha B. Kats
                                                    Samantha B. Kats
                                                    Attorneys for Defendant,
                                                    Capital One Auto Finance
Dated: November       , 2016
        Case 2:16-cv-06130-HB Document 1-4 Filed 11/21/16 Page 80 of 80




                               CERTIFICATE OF SERVICE

              I, Samantha B. Kats, hereby certify that on November     , 2016, the foregoing

Notice of Filing of Notice of Removal was served via First Class U.S. Mail, postage pre-paid,

upon the following counsel of record:

                               Richard Shenkan, Esq.
                               SHENKAN INJURY LAWYERS, LLC
                               6550 Lakeshore Street
                               West Bloomfield, MI 48323
                               rshenkan@shenkanlaw.com

                               Attorney for Plaintiffs,
                               Randy Langer and James Langer


                                                           /s/ Samantha B. Kats
                                                           Samantha B. Kats




                                                                                         # 3015772
